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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


    DONALD AGEE, JR., an individual, et
    al.,
                                              Case No. 1:22-cv-00272
               Plaintiffs,
                                              Three-Judge Panel Appointed
    v.                                        Pursuant to 28 U.S.C. § 2284(a)

    JOCELYN BENSON, et al.,                   ORAL ARGUMENT REQUESTED

               Defendants.


     INDEX OF EXHIBITS – PLAINTIFFS’ PROPOSED FINDINGS OF FACT
                     AND CONCLUSIONS OF LAW


   Exhibit                   Description


    A                        Michigan Department of State Vendor Evaluation
                             Ranking and Rationale

    B                        Communities of Interest Process Document - April 22,
                             2021
    C                        Pastula Email to Commissioner Lange – October 11, 2021

    D                        Affidavit of Rebecca A. Szetela [Exhibits A – C]

    E                        Handley Email – December 9, 2021

    F                        Pastula Email – December 10, 2021

    G                        MIRS Article
